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     DAVID D. FISCHER (SBN 224900)
1    LAW OFFICES OF DAVID D. FISCHER, APC
     5701 Lonetree Blvd. Suite 312
2
     Rocklin, CA 95765
3    (916) 447-8600 - Telephone
     (916) 930-6482 – Fax
4    davefischer@yahoo.com – E-mail
5
     Attorney for Defendant
6
     JOSE M. RODRIGUEZ

7
                      IN THE UNITED STATES DISTRICT COURT FOR THE
8
                              EASTERN DISTRICT OF CALIFORNIA
9

10
     UNITED STATES OF AMERICA,         )
                                       )         No. 2:18-CR-00164 MCE
11
                                       )
         Plaintiff,                    )         STIPULATION AND ORDER
12
                                       )         CONTINUING THE STATUS
     v.                                )         CONFERENCE TO JANUARY 24, 2019
13
                                       )         AT 10:00 A.M.
14   FRANCISCO LOYA-SOLARZANO, ET. AL. )
                                       )
                                       )
15       Defendants.                   )
                                       )
16
                                       )
                                       )
17
                                       )
                                       )
18
                                       )
                                       )
19
                                       )
                                       )
20                                     )
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22
                                       STIPULATION
23
           IT IS HEREBY STIPULATED AND AGREED between the defendants:
24

25
               1. Elias Hernandez-Valencia
26
               2. Filiberto Madrigal
27
               3. Luis Armando Rios Garcia
28
               4. Georgina Carrillo Ayala


                                             1
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1              5. Jose Francisco Buenavida
2              6. Jose Antonio Pantoja Estrada
3              7. Kelly Duane Hughes
4              8. Jerry Curtis Foster
5              9. Bart Richard Hughes
6              10. Jose Manuel Rodriguez
7              11. Roberto Mercado-Rangel
8    by and through their undersigned defense counsel, and the United States of America, by
9    and through its counsel, Assistant U.S. Attorney James Conolly, that the status conference
10   presently set for October 18, 2018, should be continued to January 24, 2019, at 10:00 a.m.
11   and that time under the Speedy Trial Act should be excluded from October 18, 2018
12   through January 24, 2019.
13         The reason for the continuance is that the parties received 415 pages of numbered
14   discovery and 6 DVDs containing other materials. The defense needs additional time to
15   prepare for trial.   The continuance is necessary to ensure continuity of counsel.
16   Accordingly, the time between October 18, 2018, and January 24, 2019, should be
17   excluded from the Speedy Trial calculation pursuant to Title 18, States Code, Section
18   3161(h)(7)(B)(iv) and Local Code T-4 for defense preparation. The parties stipulate that
19   the ends of justice served by granting this continuance outweigh the best interests of the
20   public and the defendants in a speedy trial. 18 U.S.C. §3161(h)(7)(A). Defense counsel
21   for the defendants and AUSA James Conolly have authorized Mr. Fischer to sign this
22   pleading for them.
23
     Dated: October 12, 2018                                U.S. ATTORNEY
24
                                                     by:    /s/ David D. Fischer for
25                                                          JAMES CONOLLY
                                                            Assistant U.S. Attorney
26
                                                            Attorney for Plaintiff
27

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                                                 2
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1
     Dated: October 12, 2018                       /s/ David D. Fischer for
                                                   MICHAEL PETRIK, JR.
2                                                  Attorney for Defendant
                                                   Elias Hernandez-Valencia
3

4    Dated: October 12, 2018                       /s/ David D. Fischer for
                                                   TONI WHITE
5
                                                   Attorney for Defendant
6                                                  Filiberto Madrigal
7
     Dated: October 12, 2018                       /s/ David D. Fischer for
8                                                  PETER KMETO
                                                   Attorney for Defendant
9
                                                   Luis Armando Rios Garcia
10
     Dated: October 12, 2018                       /s/ David D. Fischer for
11
                                                   TASHA CHALFANT
12                                                 Attorney for Defendant
                                                   Georgina Carrillo Ayala
13

14   Dated: October 12, 2018                       /s/ David D. Fischer for
                                                   OLAF HEDBERG
15                                                 Attorney for Defendant
16                                                 Jose Francisco Buenavida

17   Dated: October 12, 2018                       /s/ David D. Fischer for
18                                                 DINA SANTOS
                                                   Attorney for Defendant
19                                                 Jose Antonio Pantoja Estrada
20
     Dated: October 12, 2018                       /s/ David D. Fischer for
21                                                 MICHAEL LONG
22
                                                   Attorney for Defendant
                                                   Kelly Duane Hughes
23

24
     Dated: October 12, 2018                       /s/ David D. Fischer for
                                                   ETAN ZAITSU
25                                                 Attorney for Defendant
                                                   Jerry Curtis Foster
26

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                                          3
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1
     Dated: October 12, 2018                        /s/ David D. Fischer for
                                                    ALIN CINTEAN
2                                                   Attorney for Defendant
                                                    Bart Richard Hughes
3

4    Dated: October 12, 2018                        /s/ David D. Fischer
                                                    DAVID D. FISCHER
5
                                                    Attorney for Defendant
6                                                   Jose M. Rodriguez
7
     Dated: October 12, 2018                        /s/ David D. Fischer for
8                                                   CLEMENTE JIMENEZ
                                                    Attorney for Defendant
9
                                                    Roberto Mercado-Rangel
10

11                                      ORDER

12         IT IS SO ORDERED.
13   Dated: October 16, 2018
14

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